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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 KALEASY TECH LLC,

                        Plaintiff,
                                                   Civil Action No.: 1:19-cv-02333-CFC
       v.

 DISCORD, INC.,                                    TRIAL BY JURY DEMANDED

                        Defendant.


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Now comes Plaintiff Kaleasy Tech LLC, by and through its counsel, and pursuant to Fed.

 R. Civ. P. 41 (a)(1), hereby voluntarily dismisses all of the claims asserted against Defendant

 Discord, Inc. in the within action, WITH PREJUDICE. Discord, Inc. has not served an answer

 or a motion for summary judgment.

Dated: April 27, 2020                        STAMOULIS & WEINBLATT LLC

                                             /s/Stamatios Stamoulis
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                                             Attorney for Plaintiff



        SO ORDERED this ___ day of ___________________, 2020.


                                      __________________________________________
                                       United States District Court Judge
